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. i
IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION

JARREL CLEVELAND
Plaintiff,

United States Courts
Southern District of Texas

FILED

AUG 25 2023

Nathan Ochsner, Clerk of Court

Hon.

SHERIFF, HARRIS COUNTY

In His Individual and Official

Capacities; UNKNOWN POLICE

AND SHERIFF’S OFFICERS

INVOLVED IN THE PROCESSING

OF LAB REPORTS, AND CONTINUED

INCARCERATION OF PLAINTIFF

BEFORE AND AFTER JANUARY 24, 2013,

In their Official and Individual Capacities,
Defendants,

COMPLAINT WITH JURY DEMAND

This is a civil rights action filed by Jarrel Cleveland, a former prisoner of the
above named defendants, for damages under 42 U.S.C. § 1983, alleging unlawful
incarceration in violation of the Eighth Amendment and Fourteenth Amendment to

the United States Constitution.

JURISDICTION

1, This Court has jurisdiction ‘over Plaintiffs claims of violation of federal
constitutional rights under 42 U'S.C. §§ 1331(1) and 1332, (As the Plaintiff
and Defendants are citizens of different states and this controversy involves

damages exceeding $75,000 and 1343.

2. The Court has supplemental jurisdiction over any of Plaintiff's claims arising

under the laws of the State of Texas. -
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PARTIES

. The Plaintiff, Jarrel Cleveland, was incarcerated in the Harris County Jail

during the events described in this complaint.

_ Defendants remain unnamed other than their titles, as Plaintiff is without the

resources or access to ascertain them. Nonetheless they are all employees of
the Harris County Sheriff's offices or its contractual or concerted peripheries.

FACTS

. On October 5, 2021, the Harris County District Attorney’s Office, in a letter

to the plaintiff (see attached Exhibit 1) informed him that their office had
“received information that the evidence obtained by arresting officer” s on
March 12; 2012, which officers charged as “cocaine — 0.1 grams,” was indeed
not cocaine, and was not any controlled substance (Please see Exhibit 2
attached Lab Report provided by Harris County District Attorney to Plaintiff.)

. In order to receive probation with no time in jail and a deferred adjudication

of guilt and to retain all rights that would otherwise be forfeited; and to avoid
the strain|and cost of a trial; Plaintiff pleaded guilty to the charge cited above
and received two years deferred probation. This was done a mere 3 days
subsequent the arrest. (Please see Exhibit 3. Order of Def. Probation).

. On August 24, 2013, despite having been apprised by the laboratory report

seven months prior on January 24, 2013, that the substance for which
possession of, Plaintiff was arrested, was indeed nor cocaine, nor any other
controlled substance, the Plaintiff was adjudicated as guilty of committing a
felony and sentenced to 7 months in the Texas Dept. of Crim. Justice, State
Jail Division. Which sentence he served in its entirety in the Harris County
Jail. (Please see Exhibit 4, Adjudication)

. Subsequent to being provided the information and lab report, Plaintiff — with

the assistance of counsel — filed an APPLICATION FOR A WRIT OF
HABEAS CORPUS SEEKING RELIEF FROM [A] FINAL FELONY
CONVICTION UNDER CODE OF CRIMINAL PROCEDURE ARTICLE
11.07 under Texas Law. (Exhibit 5 attached).

. The grounds for the sought writ were as follows:

“In light of the laboratory report in this case,
Applicant’s conviction for possession of a
controlled substance in pg.1, less than 1 gram
(cocaine) violates Applicant’s right to due
process,”
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10.The “FACTS SUPPORTING GROUND ONE:” were reflected in identical
nature as to those provided above, except to the extent that the 4", 5", and 6"
enumeration of facts included additionally the following:
4) “The evidence in this case cannot support
a conviction for possession of a controlled
substance in pg. 1, less than 1 gram (cocaine).
5) The improper conviction in this violates
Applicant’s right to due process.
6) Applicant suffers from the continued
consequences from this improper conviction,
including the possible use of this conviction:
to deny housing, federal benefits; as a
punishment enhancement; to — justify
imposition of progressive punishment
sanction; during the punishment phase of a
trial; as a basis to justify the denial of parole;
as a basis to increase or deny bail; and
continued economic/ emotional/physical
harm stemming from conviction in this case”
(Exhibit 5 at 6-7)
11.The second ground stated: “In light of the laboratory report, Applicant’s plea
was involuntary.” This ground was supported by mostly the same supporting
facts. (Exhibit 5 at 8-9).
12.0n December 7, 2021 the Texas District Court for 337" District of Harris
County, Texas issued a RECOMMENDATION REGARDING
APPLICATION FOR WRIT OF HABEAS CORPUS, in support of Plaintiff's
Application to the TEXAS COURT OF CRIMINAL APPEALS (Please see
Exhibit 6 attached — State District Court’s Recommendation.)
13.On January 26, 2022, the Texas Court of Criminal Appeals (TCCA), in Ex
Parte Jarrel Cleveland, No. WR-93, 410-01 (Tex. Crim. App. 2022) granted
relief to Plaintiff under Texas State Law, and Brady v. United States, 397 U.S.
742 (1970). (Exhibit 7 attached ORDER of TCCA)

CLAIMS FOR RELIEF

14.Defendant’s intentionally enforced, instead of rescinding, The sentences
imposed on Plaintiff despite both the probationary periods and the 7 months
incarceration he was forced to serve which was imposed some roughly eight
months subsequent to the defendants having been informed by the laboratory
that Plaintiff was indeed never in possession of a controlled substance.

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15.All defendants acted under color of state law, and in both their individual and
official capacities at all times relevant to this complaint.

RELIEF REQUESTED

WHEREFORE, Plaintiff requests that this Court grant the following relief:
A. Issue a declaratory judgment stating that:
1. The injury suffered by Plaintiff as a result of Defendant’s actions
constituted an unlawful incarceration under state and federal law.
2. That the actions of the Defendants constituted deliberate denial
of Plaintiffs constitutional rights by on several occasions
continually enforcing the illegal probation, sentence, and
incarceration of the Plaintiff when in possession of, and having
been informed of, the fact that the Plaintiff was indeed not
culpable of the crime for which they were maintaining personal
jurisdiction over (and custody of) the plaintiff.
B. Award compensatory damages based upon the following, and in the
following amounts:

TEXAS COURT OF CRIMINAL APPEALS (TCCA)
RULING’S IMPACT ON THIS
CIVIL RIGHTS COMPLAINT

The TCCA issued an opinion consistent with the findings and
recommendations of the Texas State 337" District Court that in pertinent part
relevant to this section of the instant complaint regarding damages, found that:

“6, Applicant will continue to suffer from collateral consequences,
including possible use of this conviction:
[1] to deny housing;
[2] federal benefits, and state benefits;
[3] asa punishment enhancement;
[4] to justify imposition of progressive punishment
enhancement(s);

[5S] during punishment phase of a trial;

[6] asa basis to justify the denial of parole;.

[7] asa basis to increase or deny bail;

[8] and continued economic/emotional/physical harm

stemming from this case.
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In the context of the forgoing, Plaintiff has indeed, as the Court acknowledged
suffered from each of these enumerations above, given the Court’s recommendation
that the underlying conviction referenced be alleviated was to prevent the plaintiff's
“continuefd] [ ] suffer[ing] from the collateral consequences” of these defendant’s
actions against this plaintiff.

[1] DENIAL OF HOUSING

From the moment of the entry of the felony judgment in
this case, the Plaintiff has continued to be ineligible for
housing in most places due to general restrictions against
felons resulting in damages to Plaintiff
economically/emotionally/and physically. For this
enumeration, plaintiff requests compensatory damages in
the amount of:
$ 180,000.00
[2] FEDERAL AND STATE BENEFITS

Plaintiff has, under Texas Law, been ineligible to receive
federal and state benefits in many categories resulting in
significant deprivations to Plaintiff and family. For such,
Plaintiff requests the following in additional
compensatory damages.
$ 68,000.00
[3] AS A PUNISHMENT ENHANCEMENT;

Plaintiff has suffered several punishment enhancements
springing from this felony conviction, both statutorily and
otherwise, leading to more severe and lengthy
incarceration. As to this item, Plaintiff requests the
following in additional compensatory damages:

$ 941,826.00

[4] TO JUSTIFY IMPOSITION OF PROGRESSIVE
PUNISHMENT ENHANCEMENT.

This issue is covered in item [3] above.
[5] DURING PUNISHMENT PHASE AT TRIAL

Issue Covered Above
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AS A BASIS TO JUSTIFY PAROLE
N/A as to Parole
DENIAL OF BAIL

Plaintiff has been denied Bail as a result of this conviction,
resulting in his being impeded in assisting in his own
defense as to a federal and other case(s).
$ 150,000.00
ECONOMIC DAMAGES

(a) At the time of Plaintiff's Incarceration he was a student
at North Harris Community College. He was seeking
an Associate’s Degree. He lost his credits, was
expelled, and thus precluded from obtaining his degree,
due in part also to his inability to obtain a Pell grant to
pay for expenses. Was forced to try to maintain the
basic needs of himself and his children without an
education, and was thus prevented from gaining the
education he had dreamed of having. This has affected
his life detrimentally since. Plaintiff, along with others
(coupling with emotional impact of this) believes that
this unlawful conviction created irreparable harm and
led to his family suffering damages following.
Nonetheless, as to the economic impact of this loss of
education. Plaintiff will aggregate the years of
potential lost income not having the education to secure
the career that his degree(s) would have allowed in the
years following @ $100,000.00 per year for ten (10)
years.

$1,000,000.00

(b) Plaintiff was unable to pay his car not and thus lost his
vehicle during the incarceration period. He was also
thus unable to drive to search for employment, secure
it and then make it to the place of work for a long
period.

(Car and lost wages) $83,000.00
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(c) At the time Petitioner was incarcerated he had been
employed, he lost his job and also lost the income
during that period.

50 Hour week as mechanic @ $20 per hour ($30 for
overtime)
$800.00
+ $300.00
$1200.00 per week
x 28 weeks
$ 33,600.00

[9] EMOTIONAL DAMAGES

At the time Plaintiff was incarcerated he was the father of
four children, engaged to be married, and his fiancée was
expecting another child. As a result of this unlawful
incarceration, he missed his child’s birth, his fiancée broke
the engagement off, and his future with his family in that
context was destroyed by the acts of these defendants.
This has negatively impacted all of his children, his life,
the lives of family members, to include his mother,
siblings, etc. And the accompanying shame. This
Plaintiff was not a convicted felon prior to this
incarceration. The collateral and direct impact that this
has had on all affected is not plausibly quantifiable.
Plaintiff's grandmother with whom he had been very
close to passed during this period, and he was not allowed
to attend her funeral. His cousin — who he had grown up
with — committed suicide during this period. He was
unable to be present to comfort his family. Nor were they
present to comfort him during this period as he was
locked away from them in the cold steel and concrete of
a jail cell. These defendants have effectively ruined a
significant part of this Plaintiff's life.

$10,000,000.00

Compensatory Total $11,266,600.00
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PUNITIVE DAMAGES

“The most important indicium of the reasonableness of a punitive
damages award is the degree of reprehensibility of the defendant’s
conduct.” State Farm Mut. Auto. Ins. Co. v. Campbell, 538 U.S. 408,
419, 123 S. Ct. 1513, 155 L.Ed.2d (2003).

Petitioner requests that Punitive damages in this case be
determined by a petit Jury.

Further, Plaintiff requests that all damages be cogitated jointly
and severally as to the defendants.

Thank You and May God Bless You

Respectfully Submitted Date 3 / 17 /2OaS

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. EXHIBIT ONE

LETTER FROM HARRIS COUNTY DISTRICT ATTORNEY
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Criminal Justice Center

David Mitcham

First Assistant 1319 Prairie Street, Suite 500
. Houston, Texas 77002

Vivian King oo

Chief of Staff

HARRIS COUNTY DISTRICT ATTORNEY
KIM K. OGG

October 5, 2021

Jarrel Cleveland # 06759-579

FDC Houston .

PO Box 526255

Houston, Texas 77052 -

Re: State of Texas v. Jarrel Cleveland
Cause # 1340694
337" District Court

. ; Dear Mr. Cleveland:

* The Harris County District Attorney’s Office received information that the Laboratory Reportin 7
: your case‘shows that the evidence tested negative for a controlled substance. A copy of your lab
* report is attached to this letter. , t

‘This office is notifying you of this information pursuant to its continuing duty under Article
39.14(k) of the Texas Code of Criminal Procedure so that you may take action to have this criminal

, conviction removed. If you have questions about this letter, the issues concerning the Laboratory
Report in your case, or your legal options, please contact an attorney of your choice. In the .
alternative, you may also contact Bob Wicoff, Harris County Public Defender’s Office, Post-
Conviction Division at (713) 274-6781 or the Harris County court that handled your case.

-

Regards,

- Gavin Ellis ‘ -
Assistant District Attorney .
Harris County, Texas

GE:ks

ccc: = Alex A#zo via email azzoazzo@aol. com .
‘. 337" District Court
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EXHIBIT TWO

LABORATORY REPORT
REFERENCE BY DISTRICT ATTORNEY

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Houston Police Department
Forensic Services Command, Crime Laboratory Division
Controlled Substances Section
1200 Travis Street, Houston, Texas 77002
(713) 308-2600

Incident Number: 033263812 _ Report Date: January 24, 2013

Laboratory Report

Reference: N/A |
Suspects): Jarrel A. Cleveland -

Items of Evidence:

item Description
4. . sealed evidence envelope
4.1 Ziplock with
1.4.1. tan chunk substance
1.1.2 ziplock with residue -
Resuits and Interpretations:
Item: Net Weight Results — i
1.4 _ 0.1 grams No controlled substance identified x
1.2 Trace No controlled substance. identified Z

ltems:of evidence nof listed under Results and Interpretations were retained with no analysis.

-

Qe Mun (ibe

Clotéssa Kelly , * Gona M Colea e
Criminalist Criminalist -

Assigned Analyst Technical Reviewer
“ro Administrative Reviewer

fate Ee

The HPD Crime Laboratory Is accredited hy ASCLD/LAB and the Texas DPS

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EXHIBIT THREE

ORDER OF DEFERRED ADJUDICATION
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Case No. 134069401010
INCIDENT NO./TRN: 9167537065A001

In THE 33778 DISTRICT

THE STATE OF TEXAS §
. . § .
Vv, § Court -
, § 2
CLEVELAND, JARREL ALLEN § HARRIS County, TEXAS
4 § - ,
STATE ID No.: TX07192778 §

ORDER OF DEFERRED ADJUDICATION

Judge Presiding: Hon. HERB RITCHIE Date Order Entered: 3/19/2012 =

Attorney for State: JVINAS  - plioeney for S SHUKLA 7

Ginse Possesaion ORG
DELFVERY OF OS omine LESS THAN ONE GRAM

Charging Instrument: Statute for Offense:
INFORMATION N/A
Date of Offense:
3/16/2012 - -
Degree of Offense: a _ Plea to Offense: Findings on Deadly Weapon: |
STATE JAIL FELONY . GUILTY N/A t
Terms of Plea Bargain: . ,
2 YEARS DADJ, $200 FINE
Plea to 1** Enhancement ° Plea to 2e¢ Enhancement/Habitual
Paragraph: N/A Paragraph: ' N/A
Findings on 1** Enhancement Findings on 254 ,
Paragraph: N/A Enhancement/Habitual Paragraph: N/A
ADJUDICATION OF GUILT DEFERRED; -
DEFENDANT PLACED ON COMMUNITY SUPERVISION. =
‘ PERIOD OF COMMUNITY SUPERVISION: 2 YEARS
Fines 3? : Court Costs: Restitution: Restitution Payable to:
$ 200 i. gs 2lot $NA - Cj VICTIM (see below) [] AGENCY/AGENT (see below)

Sex Offender Registration Requirements do not apply to the Defendant. TEx. Cope Crm. Proc. chapter 62

The age of the victim at the time of the offense was N/A .

Time : NIADAYS -
Credited) * NOTES: N/A 7 , oe

All pertinent information, xameg and assesaments indicated above are incorporated into the language of the judgment below by reference.

This cause was called for trial in Harris County, Texas. The State appeared by her District Attorney as named above. -

Counsel / Waiver of Counsel (select one)

~) Defendant appeared in person with Counsel. .
O Defendant knowingly, intelligently, and voluntarily waived the right to representation by counsel in writing in open court.

Both parties announced ready for trial. Defendant waived the right of trial by jury and entered a plea as indicated
above. The Court admonished the Defendant as required by law. It appeared to the Court that Defendant was mentally _

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. . RECORDER'S MEMORANDUM
- . This instument is of poor quality
. at the time of: imaging

- CLEVELAND. docm Paga Iof2
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competent to stand trial, made the plea freely and voluntarily, and was aware of the consequences of this plea. The Court -
received the plea and entered it of record. Having heard the evidence submitted, the Court FINDS such evidence substantiates
Defendant’ guilt. The Court FINDS that, in this cause, it ig in the best interest of society and Defendant.to defer proceedings
without entering an adjudication of guilt and to place Defendant on community supervision. | ,

The Court Finps the Presentence Investigation, if so ordered, was done according to the applicable provisions of TEX. CODE
CRIM. PROC. art. 42.12 § 9.

The Court ORDERS that Defendant is given credit noted above for the time spent incarcerated. The Court ORDERS
Defendant to pay all fines, court costs, and restitution as indicated above.

The Court ORDERS that no judgment shall be entered at this time. The Court further ORDERS that Defendant be placed on
community supervision for the adjudged period so long as Defendant abides by and does not violate the terms and conditions of
community supervision. See TEX. CODE CRIM. Proc. art. 42.12 § 5(a). :

Furthermore, the following special findings or orders apply:

Signed and entered on March 19, 2012 .
- x
5 RITCHIE /

JUDGE PRESIDING “
Notice Appeal Filed: ‘
Mandate Received:
Def. Received on . at AM / PM
By: , Deputy Sheriff of Harris County :

Clerk; J GREEN

f .
FIN (CAS 20.10): __- EN/KR12: LOBT: LCBU:

_ / Right Thumbprint

CLEVELAND, deem Page 2 of 2
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ee CONDITIONS OF COMMUNITY SUPERVISION

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on

THE STATE OF TEXAS : IN THE 337th DISTRICT COURT OF
VS. HARRIS COUNTY, TEXAS
JARREL ALLEN CLEVELAND CAUSE NUMBER 134069401010.

On this the 1Sth day of March, 2012, you are granted 2 Years community supervision for the State Jaif felony
offense of POSSESSION OF A CONTROLLED SUBSTANCE PG 1 < 1 GRAM in accordance with section 5 of
Article 42.12, Texas Code of Criminal Procedure, in the 337th District Court of Harris County, Texas, by the”
Honorable HERS RITCHIE Judge Presiding. {t is the order of this Court that you abide by the following Conditions *
of Conimunity Supervision: .

(1) Commit no offense against the laws of this or any other State or of the United States.

(2) Avoid injurious or vicious habits. You are forbidden to use, possess, or consume any controfied substance,
dangerous drug, marijuana, alcoho! or prescription drug nat Specifically prescribed to you by lawful —
prescription. You are forbidden to use, consume, or possess alcoholic beverages.

(3) Avoid persons or places of disreputable or harmful character.

(4) Report immédiately in person, to the Community Supervision Officer for the 337TH District Court on the 19th
day of March, 2012 and continue to report to the Community Supervision Officer on the 19th of each month
thereatter or as diregted by the Community Supervision Officer for the remainder of the supervision term ~

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unless so ordered differentiy by the Court. :
L * *
(5) Permit a Community Supervision Officer to visit you at your home, place of employment or elsewhere. ~

(6) Abide by the mules and requlations of the Haris County Community Supervision and Corrections
Department (hereinafter referred to as HCCS&CD). Refrain from disorderly conduct, abusive lanquage or
disturbing the peace while present at any HCCS&CD office or facility. . i

{7} Work faithfully at suitable employment and present written verification of employment (including all attempts -
to secure employment) to your Community Supervision Officer on each reporting date. You must notify . .
HCCS&CD within 48 hours of any change in your employment status. - 1

(8) Remain within a specified place, to wit Harris County, Texas. You may not travel outside of Haris
County, Texas unless you receive prior written permission from the Court thraugh your Community
Supervision Officer. You must notify HCCS&CD within 48 hours of any change of residence.

(9) Support your dependents as required by law. Pravide your Community Supervision Officer with a certified
copy of all Court orders requiring payment of child support.

(10) Submit to RANDOM drug/aicohol analysis by authorized personnel of HCCS&CD, including any department

having courtesy supervision jurisdiction. Provide proof of any medication légally prescribed to you prior to-
submitting a specimen. *
(11) Participate in the HCCS&CD Community Service Restitution Program (CSRP). You shall perform a total of
. 450 hours, at the rate of 10 hours per MONTH beginning 04/19/2042.
(12) Pay-the following fees through HCCS&CD as specified herein. All payments MUST be in the form of a
MONEY ORDER or Cashier 's Check. Write SPN and Cause # on Money Order or Cashier ’s Check. Personal

checks will not be accepted. A $ 2.00 transaction fee will be charged each time you make a payment.

12.1 Pay a Supervision Fee at the rate of $ 60.00 per month for the duration of your community _
supervision beginning 04/49/2012 ta HCCS&CD. :
122 Pay a Fine of $ 200.00 and Court Costs at the rate of $ 35.00 per month beginning 04/19/2012 to:

4 Harris County through HCCS&CD. You are given credit for 0 DAYS.

12.3 Pay Laboratory Fees of $ 5.00 per MONTH for the duration of your community supervision beginning
- 04/19/2012 to HCCS&CD. ; :

13.4 Pay a $ 12:50 fee for an Offender Identification Card by 04/19/2012 to HCCS&CD.

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“ CONDITIONS OF COMMUNITY SUPERVISION

Fot: JARREL ALLEN CLEVELAND Cause: 134069401010
12.5 Pay Attomey Fees of $ 125.00 at the rate of $ 25.00 per month beginning 04/19/2012 to Harris
County through HOCS&CD.

126 Pay $ 50.00 to the Childrens Assessment Center by 04/19/2012 through HCCS&CD.

a 3) Report in person to HCCS&CD by 04/19/2012 for the purpose of creating and obtaining your Offender
Identification Card. You are to carry this identification card on your person at all times.

(14) Submit to an alcohol/drug evaluation by 05/49/2012 and at anytime thereafter as directed by your
Community Supervision Officer. Attend treatment and aftercare as recommended or as designated by the
Court, including but not limited to the STAR Drug Court Program. Comply with all program rules, regulations
and ‘guidelines until successfully discharged or released by further order of the Court On each reporting date,
submit written verification of your enrollment, attendance and/or successful completion of the program to your
Community Supervision Officer, to be retained in HCCS&COD's file.

(15) Participate in the HCCS&CD Maximum Supervision Pregram any time that you are assessed by HCCS&CD
: to require maximum supervision. Comply with all program rules, regulations and guidelines until successfully
discharged or released by further order of the Court. . h

(16) Submit to an evaluation of your educational skill leval by 05/49/2042, Ifit is determined that you have not

attained the average skill of students who have completed the sixth grade in public schools in this State, you
shall-participate in a program that teaches functionally illiterate persons to read. If you are non- English ¥
speaking, you will participate in English as a Second Language (ESL) program, if it is determined there is
a need in order for you to meet the state mandate beginning upon referral. Comply with all program
rules, regulations and guidelines until successfully discharged or released by further order of the Court. On :
each reporting date, submit written verification of your enroliment, attendance and/or successful completion of
the program to your Community Supervision Officer, to be retained in HCCS&CD's file. a

(17) Provide proof of your High School. Diploma/G.5.D. or participate in a General Educational Development .

(G.E.D.) program beginning 04/19/2012. Comply with all program rules, regulations and guidelines until
successfully discharged or released by further order of the-Court. On each reporting date, submit written
verification of your enrollment, attendance and/or successful completion of the program to your Community
Supervision Officer, to be retained in HCCS&C0's file. :

(18) Participate and complete an approved 15 hour Texas Drug Offender Education Program (TDOEP) by
09/49/2012. ,

(18) Do not enter into any agreement to act as an informant or special agent of a law enforcement agency without
the permission of the Court :

(20) During term of supervision, client is strictly prohibited from shipping, transporting, possessing,
receiving, or purchasing a firearm, altered firearm, or ammunition, or attempting to ship, transport, possess,
receive, or purchase a firearm, altered firearm, or ammunition.

(21) You are not to lie or make false statements to any employee of HCCS&CD beginning 93/19/2042.
(22) You will not use, ingest, or consume any substance that will alter or adulterate any urinalysis results,

(23) You must include HCCSCD as a creditor if at any time during the term of your supervision you file for,
- bankruptey. You must provide verbal notification to HCCSCD of any bantruptcy filing during the term of your
supervision, within 72 hours of filing for bankruptcy by contacting your Community Supervision Officer by :
telephone and providing written notification and documentation, including the "Notice of Bankruptcy Filing’, to:
Harris County Community Supervision Attention: General Counsel 49 San Jacinto, Suite 60C Houston, Texas
77002. us “oo

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1st AMENDED

i ‘CONDITIONS OF COMMUNITY SUPERVISION °
THE: STATE OF TEXAS IN THE 337th DISTRICT COURT OF .
VS. . HARRIS COUNTY, TEXAS
JARREL ALLEN CLEVELAND CAUSE NUMBER 134069401010

On this the 18th day of March, 2012, you are granted 2 Years community supervision for the State Jail felony .
offense of POSSESSION OF A CONTROLLED SUBSTANCE | PG 1 < 1 GRAM in accordance with section 5 of |
Article 42.12, Texas Code of Criminal Procedure, in the 337th District Court of Harris County, Texas, by t by the
Honorable HERB RITCHIE Judge Presiding. It is the order of this this Court that you abide by the following Conditions
of Coinmunity Supervision:

(1)
(2)

(3}
(4)

(5)
(8)

7)

8)

Commit no offense against the laws of this or any other State or of the United States.

Avoid i injurious or vicious habits. You are forbidden to use, possess, or consume any controlled substance,
dangerous drug, marijuana, alcohol or prescription drug not specifically prescribed to you by lawful
prescription, You ars forbidden to use, consume, or possess alcoholic beverages.

Avoid persons or places of disreputable or harmful character.

-

Report immediately in person, to the Community Supervision Officer for the 337 District Court on the 19th day
of March, 2072 and continue to report to the Community Supervision Officer on the 18th of each month _
thereafter or as directed by the Community Supervision Officer for the remainder of the supervision term

‘unless so ordered differently by the Court.

Permit @ Community Supervision Officer to visit you at your home, place of employment or elsewhere.

Abide by the rules and regulations of the Haris County Community Supervision and Corrections
Department (hereinafter referred to as HCCS&CD). Refrain from disorderly conduct, abusive language or
disturbing the peace while present at any HCCS&CD office or facility. =

Work faithfully at suitable employment and present written verification of employment (including all attempts

" to secure employment) to your Community Supervision Officer on each reporting date. You must notify

HCCS&CD within 48 hours of any change in your employment status.

Remain within a specified place, to wit Harris County, Texas. You may not fravel outside of Haris
County, Texas unless you receive prior written permission from the Court through your Community _

° Supervision Officer. You must notify HCCS&CD within 48 hours of any change of residence.

(9)

(10)

(it)

(12)

Support your dependents as required by law. Provide your Community Supervision Officer with a certified
copy. of all Court orders requiring payment of chiid support, :

Submit to RANDOM drugfaicchol analysis by authorized personnel of HCCS&cD, including any department -
having courtesy supervision jurisdiction. Provide proof of any medication legally prescribed to you prior to
submitting a specimen.

Participate i in he HCCS&CD Community Service Restitution Program (CSRP). You shall perform a total! of |
150 hours, at the rate of 10 hours per MONTH MONTH beginning f2hg/2012. YOU WILL RECEIVE CREDIT FOR
ANY HOURS COMPLETED. -

Pay the following fees through HCCS&CD as specified herein. All payments MUST be in the formofa -

-MONEY ORDER or Cashier's Check. Write SPN and Cause # an Money Order or Cashier 's Check. Personal :

checks will not be accepted. A $ 2.00 transaction fee will be charged each time you make a payment.

12.1 Pay a Supervision Fee at the rate of $ 60,00 per month for the duration of your community
supervision beginning 12/19/2012 to HCCS&CD. YOU ARE RESPONSIBLE FOR ANY
DELINQUENCY.

122 Pay a Fine of $ 200.00 and Court Costs at the rate of $ 35.00 per month beginning 42/19/2012 to

é Haris County through HOCS&CD. You are given credit for 0 DAYS. YOU ARE RESPONSIBLE FOR
ANY DELINQUENCY. YOU WILL RECEIVE CREDIT FOR ANY PAYMENTS MADE. “

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CONDITIONS OF COMMUNITY SUPERVISION
* For: JARREL ALLEN CLEVELAND . Cause: 134069401010

| understand that under the laws of this State, the Court shall determine the terms and conditions of Community
Supervision, and may alter or modify said conditions during the period of Community Supervision. ! further
understand that failure to abide by these Conditions of Community Supervision may result in the revocation of
Community Supervision or an adjudication of guilt.

tay of March AD. 2014

XT

March 19, 2012
LEN CLEVELAND, DEFENDANT . DATE

Signed this 19th day of March A.D, 2012

, L

. ERB "Le P ING JUGGE .
y 7 March 19, 2012

KEITH BLACK, CLO/CSO OFFICER DATE
woe SPN: 02219641
a . . - PLEA: GUILTY

t

Defendant's Right Thumbprint

“
Case 4:23-cv-03277 Document 1 Filed on 08/25/23 in TXSD Page 200f58 ~*~ _ ;

1

tet AMENDED CONDITIONS OF COMMUNITY SUPERVISION :
For: JARREL ALLEN CLEVELAND Cause: 134069401010 |

(24) You wil! resideflive with YOUR MOTHER BILLIE CLEVELAND. If you voluntarily leave/move prior to receiving ‘
pernission from the Court it is a violation of your supervision beginning 03/19/2042 until released by further °
order of the Court. " . — -

| . :
(25) Observe a curfew from 08:00 PM until 06:60 AM seven days per week beginning 03/19/2042 until released by ©
further order of the Court. CURFEW CALLS TO BE COMPLETED BY HCCS&CD. _t

(26) You must include HCCSCD as a creditor if at any time during the term of your supervision you file for
bankruptcy. You must provide verbal notification to HCCSCD of any bankruptey filing during the term of your
Supervision, within 72 hours of filing for bankruptcy by contacting your Community Supervision Officer by
telephone and providing written notification and documentation, including the "Notice of Bankruptcy Filing”, to: ,
Hattis County Community Supervision Attention: General Counse! 49 San Jacinto, Suite 600 Houston, Texas '
77002. . t

U . -

at

“ Case 4:23-cv-03277 Document 1 Filed on 08/25/23 in TXSD Page 21 of 58

1st AMENDED _ CONDITIONS OF COMMUNITY SUPERVISION 2
For: JARREL ALLEN CLEVELAND Cause: 134069401010

12.3 Pay Laboratory Fees of $ 5.00 per MONTH for the duration of your community supervision beginning
12/19/2012 to HCCS&CD.

12.4 Pay a$ 12.50 fee for an Offender Identification Card by 12/19/2012 to, HCCS&CD. YOU ARE
RESPONSIBLE FOR ANY DELINQUENCY. YOU WILL RECEIVE CREDIT FOR ANY PAYMENTS
MADE. —

12.5 Pay Attorney Fees of $ 125.00 at the rate of $ 25.00 per month beginning 04/19/2012 to Harris
County through HCCS&CD. YOU ARE RESPONSIBLE FOR ANY DELINQUENCY. YOU WALL
RECEIVE CREDIT FOR ANY PAYMENTS MADE.

12.6 Pay $50.00 to the Children"s Assessment Center by 12/19/2012 through HCCS&CD. YOU ARE
RESPONSIBLE FOR ANY DELINQUENCY. YOU WILL RECEIVE CREDIT FOR ANY PAYMENTS |
MADE. =

Réport in person to HCCS&CD by 12/19/2012 far the purpose of creating and obtaining your Offender
Identification Card. You are to cary this identification card on your person at all times.

Submit to an alcohol/drug evaluation by 05/19/2012 and at anytime thereafter as directed by your :
Community Supervision Officer. Attend treatment and aftercare as recommended or as designated by the *
Court, including but not limited to the STAR Drug Court Program. Comply with ail program rules, regulations
and guidelines until successfully discharged or released by further order of the Court. On each reporting date,
submit written verification of your enroliment, attendance and/or successful completion of the program to your

‘Community Supervision Officer, to be retained in HCCS&CD's file.

Pafticipate in the HCCS&CD Maximum Supervision Program any time that you are assessed by HCCS&CD
to require maximum supervision. Comply with all program rules, regulations and guidelines unti] successfully
discharged or released by further order of the Court.

Submit to an evaluation of your educational skill level by 05/19/2012. If it is determined that you have not’
attained the average skill of students who have completed the sixth grade in public schools in this State, you
shall participate in a program that teaches functionally illiterate persons to read. Ifyou arenon- English «
speaking, you will participate In English as a Second Language {ESL} program, if it is determined there is

a need in order for you to meet the state mandate beginning upon referral. Comply with all program ,
rules, regulations and guidelines until successfully discharged or released by further order of the Court. On -
each reporting date, submit written verification of your enrollment, attendance and/or successful completion of
the program to your Community Supervision Officer, to be retained in HCCS&CD's file.

Provide proof of your High School Diploma/G.E.D., or participate in a General Educational Development
(G.E.D.) program beginning 04/19/2012. Comply with all program tules, regulations and guidelines unti
successfully discharged or released by further order of the Court On each reporting date, submit written
verification of your enrollment, attendance and/or successful completion of the program to your Community:
Supervision Officer, to be retained in HCCS&CD's file.

Participate and complete an approved 15 hour Texas Drug Offender Education Program (TOOEP} by
05/19/2013.

Do not enter into any agreement to act as an informant or special agent of a law enforcement agency without
the permission of the Court. Ln

During term of supervision, client is strictly prohibited from shipping, transporting, possessing,
receiving, or purchasing a firearm, altered firearm, or ammunition, or attempting to ship, transport, possess,
receive, or purchase a firearm, altered firearm, or ammunition. Ty

You are not to lie or make falsé statements to any employee of HCCS&CD beginning 03/49/2012.

You will not use, ingest, or consume any substance that will alter or adulterate any urinalysis results.

On this date the Court has ordered an extension of Community Supervision of 1 YEAR with a new expiration
date of 03/18/2015. _
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EXHIBIT FOUR

JUDGMENT ADJUDICATING GUILT

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Case 4:23-cv-03277 Document 1 Filed on 08/25/23 in TXSD_ Page 23 of 58

CASE NO. 134069401010
INCIDENT NO./TRN: 9167537065A001 -

‘THE STATE OF TEXAS §. IN THE 387TH DISTRICT ' Pax
Lk §
Vv. § COURT

. § .
CLEVELAND, JARREL ALLEN -§ HARRIS COUNTY, TEXAS
§
STaTE ID No.:1X07192778 §
i - JUDGMENT ADJUDICATING GUILT
Judge Presiding: Hon: LESLIE BROCK YATES — gatergs 8/14/2018
Attorney for State: JAMIE REYNA | Attorney for AZZO, ALEX G.

“Date of Original Community Supervision Order: Statute for Offense: é

3/19/2012 NIA

- Offense for which Defendant Convicted;
: POSSESSION OF COCAINE LESS THAN ONE GRAM

Date of Offense: ‘ .
3/16/2012 .
Degree: - Plea to Motion to Adjudicate: Findings on Deadly Weapon:
STATE, JAIL FELONY _. * TRUE ‘N/A °
Terms of Plea Bargain: os zZ
7 TAONTHS STATE JAIL/ 3200 FINE i 422
: TZ se
Date Sentence Imposed: 8/14/2013 Date Sentence to Commence: 8/14/2018 ; os a 3
. i t = — =
r 7 ios
Punishmentand Place “7 MONTHS STATE JAIL DIVISION, TDCJ z2%
F Confinement: mest
4 ~~ =
TH ISSENTEN CE SIALL RUN CONCURRE N'LY. i § 2
. [| SENTENCE OF CONFINEMENT SUSPENDED, DEFENDANT PLACED ON COMMUNITY SUPERVISION FOR N/A. 5 ES
Fine: Court Costs: Restitution: Restitution Payable to: y E
$ 200.00 g EL/USD—SN/A LJ VICTIM (see below) ( AGENCY/AGENT (see below)
Sex Offender Registration Requirements do not apply to the Defendant. TEX. CODE CRIM, PROC. chapter 62
From 3116/2012 to 9/19/2012 From to }e
Time From 10/19/2012 to 11/16/2012 From to
Credited:< From 7222013 te g/14/2013 From “to mo
If Defenda jail or is gi

N/IADAYS NOTES:N/A

All pertinent information, names and assessments indicated above are incorporated into the language of the judgment below by reference.

The Court previously deferred adjudication of guilt in this case. Subsequently, the Court heard the matter of Defendant's
zompliance with and obedience to the terms and conditions of the Court’s Order of Deferred Adjudication of Guilt. The State.
appeared by her District Attorney.

Counsel / Waiver of Counsel (select one
J Defendant appeared in person with Counsel.

L] Defendant knowingly, intelligently, and voluntarily waived the right to representation by counsel in writing in open court:

After hearing and considering the evidence presented by both sides, the Court FINDS THE FOLLOWING: (1) The Court previously
found the Defendant to be qualified for community supervision; (2) The Court DEFERRED further proceedings. made no finding of guilt,
and rendered no judgment; (3) The Court issued an order placing Defendant on community supervision for a period of 2 YEARS;

(4) The Court assessed a fine of $ 200.00; (5) While on community supervision, Defendant violated the terms and conditions of

community supervision as set out in the State's ORIGINAL Motion to Adjudicate Guilt as follows: |

F.-Adjudicating Guilt with TDC cheeklist, 1394069401010_4.doan Page lof 3
Case 4:23-cv-03277 Document 1 Filed on 08/25/23 in TXSD Page 24 of 58 h

18t AMENDED CONDITIONS OF COMMUNITY SUPERVISION .
For: JARREL ALLEN CLEVELAND Cause: 134069401010

| understand that under the laws of this State, the Court shal! determine the terms and conditions of Community
Supervision, and may alter or modify said conditions during the period of Community Supervision. | further;

undefstand that failure to abide by these Conditions of Community Supervision may result in the revocation of
Community Supervision or an adjudication of guilt. , :

Community Supervision expires the 18th day ef March A.D. 2015

lM LLEE™ November 15,2012 _ 7

G@JABREL ALLEN CLEVELAND, DEFENDANT DATE Se

Signed this 15th day of November A.D. 2012 - °
HERB RITCHIE, PRESIDING JUD -
Ma November 15, 2012

KEITH BLACK, CLO/CSO OFFICER , DATE

SPN: 02219641

; | PLEA: GUILTY -

Defendant's Right Thumbprint

1ST/AMENDED: EXTEND ONE YEAR, NEW ID CARD, NEW ID CARD FEE, LIVE WITH MOTHER, EXTEND
ONE YEAR, AND NEW BEGIN DATE FOR TDOEP, NEW BEGIN-DATE FOR FEES. ~

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EXHIBIT FIVE

- APPLICATION FOR WRIT OF HABEAS CORPUS
» . 10/28/2021 1:56 PM
? . Marilyn Burgess - District Clerk Haris County
. Envelope No. 58632861

134068404.01A / Court: 337 By: L Hopkins

oo. — : . oe Filed: 10/28/2021 1:56 PM
(The district clerk of the county of conviction will fill in this blank.)

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IN THE COURT OF CRIMINAL APPEALS OF TEXAS .
4 APPLICATION FOR 4 WRIT OF HABEAS CORPUS 6 §
: SEEKING RELIEF FROM FINAL FELONY CONVICTION
UNDER CODE OF CRIMINAL PROCEDURE ARTICLE 11.07

BR

( NAME: Jarrel Cleveland

“DATE OF BIRTH: 1/31/1998 . - o£

_PLACE OF CONFINEMENT: Houston F. ederal Detention Center (current confinement unrelated to this conviction).

=

4
“y

; WARDEN: _ N/A:

“TDCJ-CID NUMBER: N/A SID NUMBER: __ 97192778

(1) ‘This application concerns (check all that apply):

i @ aconviction O parole TO
Ci asentence 0 mandatory supervision ys

i sas f

C] time credit 0 out-of-time appeal or petition for i

discretionary review

-(2} What are the court number and county of the district court in which youwere ~'
: convicted? . : -

337th District Court, Harris County

(3) What was the case number in the trial court? (Put only one case number here, even if
it includes multiple counts. You must make a separate application on a separate form for
other case numbers.) e

1340694 L

(4) What was the name of the trial judge? !

Hon. Leslie Brock Yates

“Article 11.07 Writ Application Fornr 1 Revised 2018
Case 4:23-cv-03277 Document 1 Filed on 08/25/23 in TXSD. Page 27 of 58

(5) Were you represented by counsel? If yes, provide the attorney’s name:

- Yes, Alex G. Azzo

(6) What was the date that the judgment was entered?

8/14/2013

(7) For what offense were you convicted and what was the sentence?

possession of a controlled substance p.g. 1, less than 1 gram (cocaine); 7 months state jail

(8) If you were sentenced on more than one-count of an indictment in the same court at —
the same time, what counts were you convicted of and what was the sentence in each ©

count?

N/A

(9) What was the plea you entered? (Check one.)

LH guilty-open plea guilty-plea bargain
- - O not guilty O nolo contendere/no contest

If you entered different pleas to counts in a multi-count indictment, please explain:

(10) What kind of trial did you have?

no jury 0 jury for guilt and punishment
L] jury for guilt, judge for punishment

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i (11)

Did you testify at trial? Ifyes, at what phase of the trial did you testify? -?
S No -
(12) Has your sentence discharged? yes O no
If you answered yes, when did your sentence discharge? Approximately 3/14/14
(13) Did you appeal from the judgment of conviction?
Ol yes ss @ no -
: If you did appeal, answer the following questions:
(A) Which court of appeals decided the appeal?
(B} What was the case number?
(C) Were you represented by counsel on appeal? If yes, provide the attorney’s -
name: :
(D) What was the decision‘and the date of the decision?
;
414) Did you file a petition for discretionary review in the Court of Criminal Appeals?
Ci yes . no
If you did file a petition for discretionary review, answer the following questions: ©
(A) What was the case number?
(B) What was the decision and the date of the decision? -
(15) ' Have you previously filed an application for a writ of habeas corpus under Article
11.07 of the Texas Code of Criminal Procedure challenging the conviction in this
case number?
O yes no . ~
If you answered yes, answer the following questions: °
_{A) What was the Court of Criminal Appeals’ writ number?
(B) What was the decision and the date of the decision?
“Article £1.07 Writ Application Form 3 Revised 2018

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(C) Please briefly explain why the current grounds were not presented and could
not have been presented in your previous application.

(16) Do you currently have any petition or appeal pending in any other state or federal _
court? ,

0 yes 4 no

If you answered yes, please provide the name of the court and the case number:

(17) Ifyou are presenting a time credit claim, other than for pre-sentence jail time
credit, have you exhausted your administrative remedies by presenting the time
credit claim to the time credit resolution system of the Texas Department of
Criminal Justice? (This requirement applies to any final felony conviction, including
state jail felonies.)

LC yes OC no
If you answered yes, answer the following questions:

(A) What date did you present the claim to the time credit resolution system?

-° (B) Did you receive a decision and, if yes, what was the date of the decision?

If you answered no, please explain why you have not presented your time credit
claim to the time credit resolution system of the Texas Department of Criminal
Justice:

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(18) Beginning on page 6, state concisely every legal ground for why you think that you

. are being illegally confined or restrained and then briefly summarize the facts
supporting each ground. You must present each ground and a brief summary ofthe ,
facts on the application form. If your grounds and a brief summary of the facts have

not been presented on the application form. the Court will not consider your -
grounds, A factual summary that merely references an attached memorandum or

another ground for relief will not constitute a sufficient summary of the facts.

If you have more than four grounds, use pages 14 and 15 of the application form,
which you may copy as many times as needed to give you a separate page for each
ground, with each ground numbered in sequence. The recitation of the facts
supporting each ground must be no longer than the two pages provided forthe -
ground in the fori. . -

You may include with the application form a memorandum of law if you want to —
present legal authorities or provide greater factual detail, but the Court will xot
consider grounds for relief set out in a memorandum of law that were not raised on
the application form. The memorandum of law must comply with Texas Rule of
Appellate Procedure 73 and must not exceed 15,000 words if computer-generated or
50 pages if not. If you are challenging the validity of your conviction, please include

a summary of the facts pertaining to your offense and trial in your memorandum of |
law.

If the application form does not include all of the grounds for relief,

additional grounds brought at a later date may be procedurally barred.

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. Article 1.07 Writ Application Form 5 Revised 2018
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GROUND ONE:
Tn light of the laboratory report in this case, Applicant's conviction for possession of a

-

controlled substance in p.g. 1, less than 1 gram (cocaine violates Applicant's right to due process.
P-3 & PP Pp

FACTS SUPPORTING GROUND ONE:

1) On March 16, 2012 Applicant was charged with possession of a controlled substance in .

“

p.g..1, less than 1 gram (cocaine).

2) On March 19, 2012, Applicant pled guilty to possession of a controlled substance in p.g. 1,

less than 1 gram (cocaine) in exchange for deferred adjudication. On August 14, 2013, Applicant

=

, pled true to the-allegations in the State's Motion to Adjudicate Guilt and was sentenced to seven’

months state jail pursuant to the plea agreement.

3) On January 24, 2013, the Houston Police Department Crime Laboratory analyzed the evidence.

in Applicant's case, and it was determined that the evidence did not contain a controlled substance. .

4) The evidence in this case cannot support a conviction for possession of a controlled substance

in-pg. 1, less than 1 gram (cocaine).

5) The improper conviction in this case violates Applicant's right to due process.
prop Pp Pp

6) Applicant suffers from the continued consequences from this improper conviction, including

the possible use of this conviction: to deny housing, federal benefits, and state benefits; as a

_ punishment enhancement; to justify imposition of progressive punishment sanctions; during

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the punishment phase of a trial; as a basis to justify the denial of parole; as a basis to increase or _

-

Y

deny bail; and continued economic/emotional/physical harm stemming from conviction in this case.

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GROUND TWO:

In light of the laboratory report, Applicant's plea is involuntary.

“FACTS SUPPORTING GROUND TWO:

1) On March 16, 2012, Applicant was charged with possession of a controlled substance in:

p.g. 1, less than 1 gram (cocaine).

° 2) On March 19, 2012, Applicant pled guilty to possession of a controlled substance in p.g. 1,

less than 1 gram (cocaine) in exchange for deferred adjudication. On August 14, 2012, Applicant

pled true to the allegations in the State's Motion to Adjudicate Guilty and was sentenced to

seven months in state jail pursuant to the plea agreement.

3) On January 13, 2013, the Houston Police Department Crime Laboratory analyzed the evidence

in Applicant's case, and it was determined that the evidence did not contain a controlled-substance.

4) Applicant was not made aware of the lab report before pleading guilty.

5) The evidence in this case cannot support a conviction for possession of a controlled susbtance —

‘. inp.g. 1, less than 1 gram (cocaine).

“

6) ‘Applicant was not aware of the relevant circumstances regarding Applicant's case or the relation ,

of the law to those circumstances when Applicant pled guilty.

7) Applicant would not have pled guilty to possession of a controlled substance in p.g. I,

-

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Case 4:23-cv-03277 Document1 Filed on 08/25/23 in TXSD Page 34o0f58 7

‘less than 1 gram (cocaine) but for the belief that the evidence supported his conviction.

8) Applicant suffers from the continued consequences from this conviction, including the -

possible use of his conviction; to deny housing, federal benefits, and-state benefits; as a

punishment enhancement; to justify imposition of progressive punishment sanctions; during the

punishment phase of a trial; as a basis to increase or deny bail; and continued

economic/emotional/physical harm stemming from the conviction in this case.

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_ Case 4:23-cv-03277 Document 1 Filed on 08/25/23 in TXSD_ Page 35 of 58

GROUND THREE:

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FACTS SUPPORTING GROUND THREE:

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Vie
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GROUND FOUR:

“FACTS SUPPORTING GROUND FOUR: |

-“

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Article 11.07 Writ Application Form 13 Revised 2018_

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GROUND

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FACTS SUPPORTING GROUND:

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Article 11.07 Writ Application F orn 15

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Revised 20f8
Case 4:23-cv-03277 Documenti1 Filed on 08/25/23 in TXSD Page 42 of 58 .

WHEREFORE, I PRAY THAT THE COURT GRANT THE RELIEF TO WHICH _
APPLICANT MAY BE ENTITLED IN THIS PROCEEDING.

VERIFICATION .

This application form nuzst be verified in one of the following ways by either an applicant ,
or a petitioner or it may be dismissed for noncompliance.

Applicants
In order to verify this application form, an applicant must sign one of the following: +

(1) the “Unswor Declaration” for inmates (page 16) if applicant is an inmate: or ‘
(2) the “Unsworn Declaration” for non-inmates (page 17) if applicant is not an inmate; or
—@) the “Oath Before a Notary Public” before a notary public (page 18).

Petitioners

’ Ifa petitioner, including an attormey, presents an application form on behalf of an applicant, the’
pétitioner may verify the application form for the applicant. In order to'verify this application form, a‘,
petitioner must sign one of the following:

(1) the “Unswom Declaration” for inmates (page 16) if petitioner is an inmate; or

(2) the “Unsworn Declaration” for non-inmates (page 17) if petitioner is not an inmate; or i

(3) the “Oath Before a Notary Public” before a notary public (page 18).

In addition, a// petitioners, including attomeys, presenting an application on behalf of an applicant_
must complete “Petitioner’s Information” and sign “Petitioner’s Statement” (page 19),

UNSWORN DECLARATION (INMATE)

My name is (First) ____ (Middle) (Last) pmy date
of bitth is , and my inmate identifying number, if any, is _ -

‘Lam presently incarcerated in (Corrections unit name) | in “
(City) , (County) (State)

(Zip Code) . [declare under penalty of perjury that the contents of this application for a
, I

writ of habeas corpus and the facts stated in the application form are true and correct. os

ro, . vs
= ah

-

Executed on the day: of (Month) __ (Year)

Signature of Declarant:

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UNSWORN DECLARATION (NON-INMATE) \

My name is (First) | (Middle) __ (Last) my
date of birth is , and my address is (Street)

, (City) , (State) . (Zip
Code) , and (Country) ____. I declare under penalty of perjury that.

the contents of this application for a writ of habeas corpus and the facts stated in the application form

are tmie and correct.

Executed in County, State of , on the -

day of (Month) (Year) .

Signature of Declarant:

\

Article 11.07 Writ Application Form — 17 Revised 2018
Case 4:23-cv-03277 Document 1° Filed on 08/25/23 in TXSD Page 44 of 58

“\

GATH BEFORE A NOTARY PUBLIC
STATE OF TEXAS

COUNTY OF __ Harris

Maggie Kiely sidinitiegtiinanitinnnee ining DEIng duly sworn, under oath says: “I am the applicant of
petitioner in this action anid d know the contents of this application for a writ of habeas corpus and,

according to my belief, the facts stated in the application form are true.”

: ly,

. aLicia SAUCEDA €

“182804808:

£e] BOTARY SURLIC. ata: ;
7 MY ConMiasiog Teriexan .
ANUARY

Article 21.07 Writ Application Forme 1B

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PETITIONER'S INFORMATION

(Contact information for a petitioner presenting this application on behalf of the applicant)

Petitioner’s printed name: Maggie Kiely

State bar number, if applicable: 24110088

Address: 1201 Franklin St., 13th Floor \

Houston, Texas 77002

Telephone: 713-274-6700 ‘

Fax: 713-368-9278

Email Address: maggie.kiely@pdo.hctx.net

PETITIONER'S STATEMENT

“Lam signing and presenting this application form on behalf of the applicant for the
purpose of obtaining relief from the applicant's felony conviction. I have consulted with
the applicant concerning this application and the applicant has given consent to the
filing of this application form.”
f eg mu TR acenent sang ce

Signature of Petitioner

Signed on~; October 28 20 21

"Article 11.07 Writ Application Form 19 - Revised 2018
Case 4:23-cv-03277 Document1 Filed on 08/25/23 in TXSD Page 46 of 58

t ai\ CLL Ted /

“THE STATE OF TEXAS 02219641 D.A. LOG NUMBER:1838972
VS. - CIS TRACKING NO. :9167537065-A001
JARREL ALLEN CLEVELAND SPN: BY: TD DA NO: 002126024
802 SEMINAR DOB: BM 01/31/1988 AGENCY:HPD
HOUSTON, TX 77060 DATE PREPARED: 3/16/2012 O/R NO: 033263812-G

. ARREST DATE: 03/16/2012

NCIC CODE: 5599 04 RELATED CASES:
FELONY CHARGE: Possession of a Controlled Substance
CAUSE NO: BAIL: $5000
HARRIS COUNTY DISTRICT COURT NO: 1340694 PRIOR CAUSE NO:
FIRST SETTING DATE: / 337

IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:

Before me, the undersigned Assistant District Attormey of Harris County, Texas, this day appeared the undersigned affiant, who under oath says
that he has good reason to believe and docs believe that in Harris County, Texas, JARREL ALLEN CLEVELAND, hereafter styled the
Defendant, heretofore on or about MARCH 16, 2012, did then and there unlawfully intentionally and knowingly possess a controtled substance
namely, COCAINE, weighing less than one gram by aggregate weight, including aay adulterants and dilutants:

‘+

F i L
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AGAINST THE PEACE AND DIGNITY OF THE STATE.
.
Swom to and subscribed before me on March 16, 2012
f ‘ ,
“[/ ’ * : .
po Pos s seth
AFFIANT WV ASSREART DISTRICT ATTORNEY  BARNO.
OFMARRIS COUNTY, TEXAS.

COMPLAINT
Case 4:23-cv-03277 Document1 Filed on 08/25/23 in TXSD Page 47 of 58

EXHIBIT SIX

- RECOMMENDATION OF TEXAS DISTRICT
COURT
337 DISTRICT, HARRIS COUNTY
1 Case 4:23-cv-03277 Document 1 Filed on 08/25/23 in TXSD Page 48 of 58

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ton 7

No. 1340694-A
EX PARTE § INTHE 337TH DISTRICT COURT - ,
§ 3 . .
§
§
§
_ JARREL CLEVELAND § OF HARRIS COUNTY, TEXAS

RECOMMENDATION REGARDING APPLICATION FOR WRIT OF HABEAS CORPUS

- Having considered Applicant’s Application for Writ of Habeas Corpus and Applicant's
_ Proposed Findings of fact and conclusions of law, this Court hereby RECOMMENDS;

xX, Relief is RECOMMENDED, and the Applicant should be returned to the position  -
as if no final order or judgment had issued in Applicant’s case, Cause Number 1340694.

OR
Relief should be DENIED.
- Signed and entered on this the day of . 2021. “
Signed: Oya
12/7/2021 CW

Judge Presiding
Case 4:23-cv-03277 Document 1 Filed on 08/25/23 in TXSD Page 49 of 58

11/11/2021 2:19 PM

Marilyn Burgess - District Clerk Harris County
Envelope No. 59083393

By: T Reed

Filed: 11/11/2021 2:19 PM

No. 1340694-A

EX PARTE § IN THE 337TH DISTRICT COURT
A
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§
§ OF HARRIS COUNTY, TEXAS

JARREL CLEVELAND .

APPLICANT? S PROPOSED EF INDINGS OF FACTS AND CONCLUSIONS OF
LAW, RECOMMENDATION OF RELIEF, AND ORDER

The Court, having considered the Application for Writ of Habeas Corpus in the
above cause, any exhibits attached to the application, and any affidavits or other
evidence that has been otherwise filed in this cause, as well as the official court
documents and records in underlying cause number 13411694, enters the following
findings of fact, conclusions of law, recommendation of relief, and order.
FINDINGS OF FACT
1. On March 16, 2012, Applicant was charged with possession of substance in p.g. 1, -

less than 1 gram (cocaine) in Cause Number 1340694 out of the 337th District Court

- of Harris County, Texas. Babibit Al. . | '

2. On March 19; 2012, a formal charging instriment was issued in Applicant’s case.
Exhibit B.

3. On March 19, 2112, Applicant pleaded guilty to possession of substance in p.g. 1,

_ less than 1 gram (cocaine) in exchange for deferred adjudication. Exhibit C. “The trial

- fudge granted the State’s Motion to Adjudicate Guilt on August 24, 2013, and

FN VT ROOD AU A) TN UF YE UT LHL
' ~ Case 4:23-cv-03277 Document 1 Filed on 08/25/23 in,TXSD Page 50 of 58

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Applicant was sentenced to seven months in state jail pursuant to the
plea agreement. Fixhibit D.

“4, On January 24, 2013, evidence from Applicant’s case was tested at the Houston
Police Department Crime Laboratory, and it was determined that the evidence did
not contain any controlled substance or dangerous drug, Exhibit E.

(5.SApplicant was never made aware of the January 24, 21113 lab report nor its
implications regarding Cause Number 1340694.

6. Applicant will continue to suffer from collateral consequences from this conviction, _
including possible use of this conviction: to deny housing, federal benefits, and state
benefits; as a punishment enhancement; to justify imposition of progressive
punishment sanctions; during the punishment phase of a trial; as a basis to justify °
the dental of parole; as a basis to increase or deny bail, and continued _
economic/emotional / physical harm stemming from this case.

7. The State has agreed that Applicant is entitled to relief. See S taie’s Original Answer

CONCLUSIONS OF Law
1. The collateral consequences Applicant suffers are sufficient to vest this Court with -
jutisdiction over this application for writ af habeas corpus. Hx parte Harrington, 310
-S.W.3d 452, 456~57 (Tex. Crim. App. 2010).

2. “[Blecause a guilty plea is an admission of all the elements of a formal criminal

charge, it cannot be truly voluntary unless the defendant possesses an understanding -

of the law in relation to the facts.” McCarthy 1. United States, 394 U.S. 459, 466 (1969).
“Case 4:23-cv-03277 Document 1 Filed on 08/25/23 in TXSD Page 51 of 58

3.

“Waivers of constitutional rights not only must be voluntary but must be knowing,
intelligent acts done with ‘sufficient awareness of the relevant circumstances and
likely consequences.” Brady +. United States, 397 U.S. 742, 748 (1970).

“The standard is whether the plea is a voluntary and intelligent choice among the

" alternative courses of action open to the defendant.” Ex parte Mable, 443 S.W.3d

129, 131 (Tex. Crim. App. 2014).

In light of the Januaty 24, 2013 laboratory report, the decision to plead guilty 1s not
a “voluntary and intelligent choice” given that the laboratory report indicates that
the sample tested by the laboratory analyst did not contain a controlled substance
or dangerous drug, therefore Applicant could not have committed possession of
substance in p.g, 1, less than 1 gram (cocaine).

The laboratory report establishes that the sample tested by the laboratory analyst did
not contain a controlled substance or dangerous drug, therefore Applicant could not
have committed possession of substance in p.g. 1, less than 1 gram (cocaine).
Applicant’s conviction for possession of substance in p.g. 1, less than 1 gram
(cocaine) violates due process. Ex parte Moffett, 542. SNV.2d 184, 185 (Tex. Crim.
App. 1976); see also Ex parte Saucedo, 576 $.W'.3d 712, 721 (Vex. Crim. App. 21119)
(Keasler, J., concurring).

‘This Court recommends that Applicant’s grounds for relief be GRANTED.
Case 4:23-cv-03277 Document 1 Filed on 08/25/23 in TXSD Page 52 of 58 7

No. 1340694-A

EX PARTE § IN THE 337TH DISTRICT COURT
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| JARREL CLEVELAND . §.. OF HARRIS COUNTY, TEXAS
ORDER

The tial court orders that the district clerk prepare and transmit to the Court of
' Criminal Appeals a record that contains those items from cause numbers 1340694 and
1340694-A that are required to be included by Texas Rule of Appellate Procedure 73.4(b) (4). .
The trial court further orders that such record shall also include, as “pertinent documents or
supplements” under Texas Rule of Appellate Procedure 73.4(b) 4), the following:
“1. The Application for a Writ of Habeas Corpus, with all attachments;
2, All other documents that were otherwise filed among the papers of this cause.
The clerk is further ordered to send a copy of this order to counsel for the Applicant:
Maggie Kiely, 1201 Franklin, 13" floor, Houston, Texas 77002; and to counsel for the State:

- Jil Burdette, 500 Jefferson Street, Suite 600, Houston, Texas 77002.

By the following signature, the trial court adopts the Applicant’s
Proposed Findings of Fact and Conclusions of Law and Order in cause
number 1340694-A.,

SIGNED this_ © _ day of Dtctmmiouy2021

LLLA LLh hy,

_- JUDGE PRESIDING ()

Case 4:23-cv-03277 Document 1 Filed on 08/25/23 in TXSD Page 53 of 58

“

CERTIFICATE OF SERVICE

I hereby certify that a truc and correct copy of the above Proposed Findings of Facts

~

_and Conclusions of Law, Recommendation, and Order was efiled and served upon the {larris

County District Attorney’s Office (Jill Burdette) on November 11, 2021.

/s/ Maggie Kiely
MAGGIE KIELY
Assistant Public Defender
- Post-Conviction Division
Harris County Public Defender's Office

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Case Contacts

Name BarNumber | Email TimestampSubmitted | Status
Sara Kiely | 24110088 | maggiekiely24@gmail.com | 11/11/2021 2:19:49 PM | SENT
Jill Burdette Burdette_jill@dao.hetx.net | 11/11/2021 2:19:49 PM | SENT

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Case 4:23-cv-03277 Document1 Filed on 08/25/23 in TXSD Page 55 of 58

- EXHIBIT SEVEN

ORDER GRANTING WRIT
OF HABEAS CORPUS
BY
TEXAS COURT OF CRIMINAL APPEALS
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”

IN THE COURT OF CRIMINAL APPEALS
OF TEXAS

NO. WR-93,410-01

EX PARTE JARREL CLEVELAND, Applicant -

ON APPLICATION FOR A WRIT OF HABEAS CORPUS
: CAUSE NO. 1340694-A IN THE 3372 DISTRICT COURT FROM HARRIS COUNTY

Per curiam. YEARY, J. concutred in the result, .
OPINION

Applicant pleaded guilty, was convicted of possession of a controlled substance, and

sentenced to seven months’ imprisonment in this cause.. Applicant filed this application for a writ

‘of habeas corpus in the county of conviction, and the district clerk forwarded it to this Court. See
‘TEX, CoDE Crim. Proc. art. 11.07.

Applicant contends that his plea was involuntary because at the time of his plea, he was not

aware that the substance he possessed contained no controlled substances. The State agrees. Based ~

on the record, the trial court has determined that Applicant’s plea was involuntary. .

Reliefis granted. Ex parte Mable, 443 8.W.3d 129 (Tex. Crim. App. 2014), Brady v. United

States, 397 U.S. 742 (1970). The judgment in cause number 1340694 in the 337" District Court of
“~ Case 4:23-cv-03277 Document 1 Filed on 08/25/23 in TXSD Page 57 of 58

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Harris County is set aside, and Applicantis remanded to the custody of the Sheriff of Harris County

to answer the charge as set out in the indictment. The trial court shall issue any necessary bench

warrant within ten days from the date of this Court’s mandate.
Copies of this opinion shall be sent to the Texas Department of Criminal Justice-Correctional

Institutions Division and the Board of Pardons and Paroles. —

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Delivered: January 26, 2022
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